Case 8:08-cr-00073-E_K-TBM Document 130 Filed 03/18/15 Page 1 of 2 PageID 314




                        OUNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                            CASE NO: 8:08-cr-73-T-17TBM

RIGOBERTO BETANCOURT-ANCELMO
____________________________________/


  Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                   U.S.C. § 3582(c)(2) Based on USSG Amend. 782
        Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C. §

3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG §1B1.10(d)

(2014). Docs. # 122. The United States does not oppose a reduction. Doc. #128. The parties agree

that he is eligible for a reduction because Amendment 782 reduces the guideline range applicable

to him, see USSG §1B1.10(a)(1). Docs. #122 and 128.. The Court agrees that he is eligible for a

reduction and adopts the amended guideline calculations in the memorandum from the U.S.

Probation Office. Doc. #127.

        Having reviewed the facts in both the original presentence investigation report and the

February 25, 2015 memorandum from the United States Probation Office in light of the factors in

18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by a

reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 32 months,

is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties of a

possible release date on Sunday, November 1, 2015, the effective date of this order is November 2,

2015.
Case 8:08-cr-00073-E_K-TBM Document 130 Filed 03/18/15 Page 2 of 2 PageID 315




       Thus:

       (1)     The Court grants the defendant’s motion, Doc. #122.

       (2)     The Court reduces the defendant’s prison term from 78 to 46 months, followed by

               60 months consecutive, or time served, whichever is greater.

       (3)     The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on March 18, 2015.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
United States Pretrial Services
